                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                        Case No. 12-47106

SCOTT R. SCHUBINER,                                           Chapter 7

                        Debtor.                               Judge Thomas J. Tucker
                                           /

STEVEN P. SCHUBINER, etc.,

                        Plaintiff,

v.                                                            Adv. No. 17-4677

SHELLEY ZOLMAN,

                        Defendant.
                                          /

         ORDER DENYING, WITHOUT PREJUDICE, PLAINTIFF’S MOTION FOR
         JUDGMENT ON THE PLEADINGS, OR ALTERNATIVELY, MOTION FOR
                           SUMMARY JUDGMENT

       This adversary proceeding is before the Court on the Plaintiff’s motion entitled “Motion
for Judgment on the Pleadings, or, Alternatively, Motion for Summary Judgment” (Docket # 12,
the “Motion”). After filing the Motion, on December 21, 2017, the Plaintiff filed an amended
complaint (Docket # 19). As a result, the complaint on which Plaintiff’s Motion sought
judgment on the pleadings is no longer the operative pleading. Thus, the amended complaint
renders the Motion moot.

         Accordingly,

        IT IS ORDERED that the Motion (Docket # 12) is denied, without prejudice to the
Plaintiff’s right to file a new motion for judgment on the pleadings, or alternatively, a motion for
summary judgment, on the Plaintiff’s amended complaint.



Signed on January 12, 2018




     17-04677-tjt   Doc 21        Filed 01/12/18   Entered 01/12/18 10:03:51        Page 1 of 1
